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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

 

KEN E. BEASLEY,
Plaintiff,

V'.
No. 04-2853 Ml/P
sTATE FARM FIRE s cAsUALTY
coMPANY,

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Defendant.

 

ORDER DENYING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Defendant’s Motion for Summary Judgment,
filed December 2, 2004. Plaintiff responded in opposition on
January 3, 2005. Defendant filed a reply on February 3, 2005.
Plaintiff filed a response to Defendant's reply on February 15,
2005.l For the following reasons, Defendant's motion is DENIED.
I. BACKGROUND AND RELEVANT FACTS

The instant case arises out of an insurance claim filed by
Plaintiff Ken E. Beasley regarding damage to his home at 115 East
Parkway Avenue North in Memphis, Tennessee. The damage was
caused by a storm that occurred on July 22, 2003. Plaintiff
acquired a homeowner’s insurance policy from Defendant State Farm
Fire and Casualty Company that was in effect at the time of the

storm.

 

1 Plaintiff is hereby granted leave to file his response to

Defendant's reply brief'
This document entered on the docket sheetl compliance
with Hu|e 58 and/or 79(3) FRCP on ' L?'

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After the storm, Plaintiff and Defendant received divergent
estimates regarding the cost of the repairs to Plaintiff's home.
Plaintiff submitted to Defendant an estimate of $355,761.60.

From the date of the storm until April 6, 2004, Defendant paid a
total of $293,040.40 to Plaintiff for repairs, based upon a lower
estimate from a different construction company. On April 6,
2004, Defendant made its final payment to Plaintiff for repair
costs to his home, in the amount of $40,577.85. On May 17, 2004,
Defendant sent Plaintiff a letter stating “[t]he draft in the
amount of $40,577.85 is State Farm's final offer in terms of
settling the construction aspect of the claim.” (Aff. of
Elmickyo Duncan (“Duncan Aff.”), Ex. D.) On June 8, 2004,
Plaintiff's attorney sent Defendant a formal demand for payment
in amount of the difference in the estimates, noting Plaintiff's
intent to proceed with litigation if the payment was not made.
(Duncan Aff., Ex. E.) On October 6, 2004, Plaintiff filed suit
against Defendant.

Plaintiff's insurance policy requires any suit regarding the
policy to be brought within one year after the date of loss or

damage.2 The policy also requires that any loss is payable 60

 

2 Plaintiff's policy provides, in relevant part:
Suit Against Us. No action shall be brought unless
there has been compliance with the policy provisions.
The action must be started within one year after the
date of loss or damage.
(Def.'s Mot. for Summ. J., Ex. l at 14.)

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days after the receipt of proof of loss and upon the agreement of
the parties.3

II. SUMMARY JUDGMENT STANDARD

Under Federal Rule of Civil Procedure 56(c), summary
judgment is proper “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56{€); see also Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). So long as the
movant has met its initial burden of “demonstrat[ing] the absence
of a genuine issue of material fact,” Celotex, 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate. Emmons v. McLaughlin, 874 F.Zd 351, 353
(6th Cir. 1989). In considering a motion for summary judgment,
“the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion.”

Kochins v. Linden-Alimak, Inc., 799 F.2d 1128, 1133 (6th Cir.

 

3 Plaintiff’s policy provides, in relevant part:

Loss Payment. We will adjust losses with you. We will
pay you unless some other person is named in the policy
or is legally entitled to receive payment. Loss will
be payable 60 days after we receive your proof of loss
and:
a. reach agreement with you;
b. there is an entry of a final judgment; or
c. there is a filing of an appraisal award with us.

{Def.’s Mot. for Summ. J., Ex. 1 at 14.)

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1986); see also Matsushita Elec. lndus. Co. v. Zenith Radio
§Qrpy, 475 U.S. 574, 587 (1986).

When confronted with a properly-supported motion for summary
judgment, the nonmoving party “must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ.
P. 56(e); see also Abeita v. TransAmerica Mailings, Inc., 159
F.3d 246, 250 (6th Cir. 1998). A genuine issue of material fact
exists for trial “if the evidence [presented by the nonmoving
party] is such that a reasonable jury could return a verdict for
the nonmoving party.” Anderson v. Libertv Lobbv, Inc., 477 U.S.
242, 248 (1986). In essence, the inquiry is “whether the
evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must
prevail as a matter of law.” ld; at 251-52.

III. ANALYSIS

Defendant contends that Plaintiff's suit is barred by the
one year statute of limitations in Plaintiff’s insurance policy.
Plaintiff contends that his action was either timely under the
policy or that Defendant has waived the enforcement of the
limitations period.

Numerous Tennessee courts have construed insurance
limitations provisions similar to the one found in Plaintiff’s
insurance policy. The general rule in interpreting such

provisions is that “[t]he limitation begins to be effective from

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the time the right of action accrues, notwithstanding the
expression ‘after the [loss].'” Das v. State Farm Fire and Cas.
QQL, 713 S.W.Zd 318, 323 (1986)(quoting Phoenix lns. Co. v.
Fidelity & Deposit lns. Co., 37 S.W.2d 119, 120 (1931)); See also
Hill v. Home lns. Co., 125 S.W.Zd 189, 192 (1938); Boston Marine
lns. Co. v. Scales, 49 S.W. 743, 747 (1899). A plaintiff’s cause
of action accrues when the insurer denies liability. Qa§, 713
S.W.2d at 323.

Here, it is undisputed that, from the date of the storm
until April 6, 2004, Defendant made payments to Plaintiff
totaling $293,040.40. The Court finds that Defendant denied
further liability under the policy on May 17, 2004, when
Defendant informed Plaintiff that its $40,577.85 check was its
“final offer in terms of settling the construction aspect of the
claim.” Accordingly, Plaintiff’s cause of action accrued on May
17, 2004.4 Plaintiff filed his suit on October 6, 2004, less
than one year from May 17, 2004. Plaintiff’s suit was therefore

timely under the policy.

 

4 Moreover, under the “Loss Payment” provision of
Plaintiff’s policy, “[l]oss [becomes] payable 60 days after we
receive your proof of loss and ... reach agreement with you.” ln
the instant case, the parties were unable to reach agreement
regarding the cost of the repairs to Plaintiff's home.
Accordingly, the claim became “payable” and the right to sue
accrued when Defendant denied further liability. §§e Qa§, 713
S.W.2d at 323 (finding claim that was disputed by parties did not
become “payable” under identical provision and that right to sue
accrued when insurer denied liability).

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IV. CONCLUSION

For the foregoing reasons, Defendant's Motion for Summary

Judgment is DENIED.

So ORDERED this 24th day of May, 2005.

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P. MCCALLA
UO TED STATES DISTRICT JUDGE

        

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Honcrable J on McCalla
US DISTRICT COURT

